          Case 1:17-cv-09393-SLC Document 82 Filed 10/19/20 Page 1 of 2




UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

 ----------------------------------------------------------------X   Index. 17 Civ. 9393 (SLC)

 JOEL RODRIGUEZ FRANCO, individually and on

 behalf of others similarly situated,


                               Plaintiff,

                            -against-

 TANDOORI NORTH INC. (d/b/a Indigo Indian

 Bistro), JOGINDER PAUL and ANIL KUMAR


                               Defendants.
 ----------------------------------------------------------------X


                                                JUDGMENT


        On October 13, 2020 Plaintiff filed a notice of acceptance of offer of judgment pursuant
to Rule 68 of the Federal Rules of Civil Procedure;
        NOW, it is hereby ORDERED, ADJUDGED AND DECREED as follows:
        That the Plaintiff JOEL RODRIGUEZ FRANCO has judgment against Defendants
TANDOORI NORTH INC. (d/b/a Indigo Indian Bistro), JOGINDER PAUL and ANIL KUMAR
(collectively “Defendants”), jointly and severally, in the amount of $15,000, (Fifteen Thousand
Dollars) which is inclusive of attorneys’ fees and costs.
        This judgment shall be in full satisfaction of all federal and state law claims or rights that
Plaintiff may have as to damages, or any other form of relief, arising out of the alleged acts or
omissions of the Defendants.
        This judgment is entered pursuant to Rule 68 of the Federal Rules of Civil Procedure, and
is not to be construed as an admission of liability by the Defendants, or any officer, employee or
          Case 1:17-cv-09393-SLC Document 82 Filed 10/19/20 Page 2 of 2




agent, either past or present of the Defendants; nor is it an admission that Plaintiff has suffered
any damages.
       This judgment will act to release and discharge the Defendants; their successors or
assigned, and all past and present officers, employees, representatives, attorneys and agents of
the Defendants, from any and all claims that were or could have been alleged by Plaintiff. This
judgment will operate to waive Plaintiff’s rights to any claim for interest on the amount of the
judgment.




    SO-ORDERED 10/19/2020

    Plaintiff Joel Rodriguez Franco has accepted
    Defendants' Rule 68 Offer of Judgment. (ECF
    No. 80). Accordingly, the Clerk of Court is
    respectfully directed to enter judgment against
    Defendants and to deem this matter closed.




                                                -2-
